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                       EXHIBIT 15
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   On information and belief, Lenovo Moto G Power mobile phones contain a Micron MT29VZZZAD8QKSL-
   046 multi-chip module with LPDDR4 SDRAM (Z11N die), 3D NAND Flash (B16A die), and eMMC
   controller (PS8226 die).

   A 3D NAND flash array is a cubic memory array.




      Techinsights, “Intel 29F01T2ANCTH2 64-Layer 256Gb 3D NAND Flash”, report AME-1707-801.pdf,
                                              March 2018




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                          Techinsights, “Intel 29F01T2ANCTH2 64-Layer 256Gb 3D NAND Flash”, report AME-1707-801.pdf,
                                                                  March 2018

a plurality of         The 3D NAND Flash array has a plurality of wordlines, which are horizonal select lines.
horizontal select
lines;




                                                               Page 3
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                             Techinsights, “Intel 29F01T2ANCTH2 64-Layer 256Gb 3D NAND Flash”, report AME-1707-801.pdf,
                                                                     March 2018

a plurality of vertical   The 3D NAND Flash array has a plurality of vertical select lines.
select lines;




                             Techinsights, “Intel 29F01T2ANCTH2 64-Layer 256Gb 3D NAND Flash”, report AME-1707-801.pdf,
                                                                              March 2018
a plurality of            The 3D NAND Flash array has a plurality of floating gate memory cells, each memory cell adjacent to a
memory cells, each        horizontal select line and adjacent to a vertical select line.
memory cell adjacent
to a horizontal select
line and adjacent to a
vertical select line;
and




                                                                  Page 5
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      Techinsights, “Intel 29F01T2ANCTH2 64-Layer 256Gb 3D NAND Flash”, report AME-1707-801.pdf,
                                              March 2018

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orthogonal to each
other.




                           Techinsights, “Intel 29F01T2ANCTH2 64-Layer 256Gb 3D NAND Flash”, report AME-1707-801.pdf,
                                                                   March 2018




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